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                           U N I T E D S TAT E S D I S T R I C T C O U R T
                             NORTHERN DISTRICT OF OHIO


JOSEPH LATORRE, Administrator of the                       )
Estate of ROGELIO LATORRE, deceased.                       )
4867 Columbia Rd., Apt. 202                                )
North Olmsted, Ohio 44070                                  )CASE NO.: l:24-cv-2006
                                                           )
         Plaintiff,                                        )
                                                           )JUDGE
V .                                                        )
                                                           )
C U Y A H O G A C O U N T Y, O H I O                       )COMPLAINT
c/o Michael C. O’Malley, Cuyahoga County                   )
Prosecutor                                                 )(Jur)^ Demand Endorsed Hereon)
2079 East 9‘*’ Street                                      )
Cleveland, Ohio 44115                                      )
                                                           )
and                                                        )
                                                           )
C U YA H O G A C O U N T Y   CORRECTIONS                   )
CENTER                                                     )
1215 West Street                                           )
Cleveland. Ohio 44113                                      )
                                                           )
and                                                        )
                                                           )
C U YA H O G A    COUNTY     SHERIFFS                      )
DEPARTMENT                                                 )
1215 West 3^^* Street                                      )
Cleveland, Ohio 44113                                      )
                                                           )
and                                                        )
                                                           )
HAROLD        PRETEL                                       )
Cuyahoga County Sheriff (in his of cial and                )
personal capacities)                                       )
c/o Cuyahoga County Sheriffs Department                    )
1215 West 3^‘* Street                                      )
Cleveland, Ohio 44113                                      )
                                                           )
and                                                        )
                                                           )
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